             UNITED STATES COURT OF APPEALS FOR THE EIGHTH CIRCUIT
                           APPEARANCE OF COUNSEL

            State of Kansas, et al.            United States, et al.
Case Title: _______________________________ vs._________________________________

                                                            24-3521
The Clerk will enter my appearance as Counsel in Appeal No. _______________for the
following party(s): (please specify)

State of Alabama




   Appellant(s)     Petitioner(s) ✔ Appellee(s)        Respondent(s)      Amicus Curiae         Intervenor(s)



Please compare your information below with your information on PACER. Any updates
or changes must be made through PACER’s Manage my Account.
               Robert M. Overing                              Robert M. Overing
Attorney Name: ________________________ s/: ____________________________________
           Office of the Alabama Attorney General
Firm Name: ___________________________________________________________________
                  501 Washington Avenue
Business Address: ______________________________________________________________
                Montgomery, AL 36130
City/State/Zip: _________________________________________________________________
                             334.242.7300
Telephone Number (Area Code):___________________________________________________
               Robert.Overing@AlabamaAG.gov
Email Address: ________________________________________________________________




                                          CERTIFICATE OF SERVICE

 ✔ hereby certify that on 1/15/2025_, I electronically filed the foregoing with the Clerk of the Court for the
_____I
United States Court of Appeals for the Eighth Circuit by using the CM/ECF system.

_____I further certify that some of the participants in the case are not CM/ECF users. I have mailed the foregoing
document by First-Class Mail, postage prepaid, or have dispatched it to a third-party commercial carrier for delivery
within 3 calendar days, to the following non-CM/ECF participants:




    Appellate Case: 24-3521              Page: 1         Date Filed: 01/15/2025 Entry ID: 5474928
